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                        UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

 ALLSTATE INSURANCE COMPANY,
 ALLSTATE FIRE AND CASUALTY
 INSURANCE COMPANY, ALLSTATE
 INDEMNITY COMPANY and
 ALLSTATE PROPERTY AND
 CASUALTY INSURANCE COMPANY,

                       Plaintiffs,

 v.                                                       Case No: 6:18-cv-2184-Orl-41LRH

 AUTO GLASS AMERICA, LLC and
 CHARLES ISALY,

                       Defendants.


       SECOND AMENDED CASE MANAGEMENT AND SCHEDULING ORDER

        Having considered the Case Management Report prepared by the parties, see Fed. R. Civ.

 P. 26(f) and Local Rule 3.05(c), the Court enters this Case Management and Scheduling Order:

  Mandatory Initial Disclosures

  Certificate of Interested Persons and Corporate Disclosure                         Completed
     Statement
  Motions to Add Parties or to Amend Pleadings

  Disclosure of Expert Reports
                                                     Plaintiff:                 JUNE 30, 2020
                                                   Defendant:                   JULY 30, 2020
                                                    Rebuttal:
  Discovery Deadline                                                        AUGUST 28, 2020

  Dispositive Motions and Daubert Motions                                   OCTOBER 1, 2020

  Meeting In Person to Prepare Joint Final Pretrial                        JANUARY 22, 2021
    Statement




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  Joint Final Pretrial Statement , (Including a Single Set of                    FEBRUARY 1, 2021
      Jointly Proposed Jury Instructions and Verdict Form,
      Voir Dire Questions, Witness Lists, Exhibit Lists on an
      Approved Form), Trial Briefs
  All Other Motions Including Motions In Limine                                    JANUARY 1, 2021

  Final Pretrial Conference
                                                              Date:                       Upon Notice
                                                              Time:
                                                             Judge:        Judge Carlos E. Mendoza
                                                                                     Courtroom 5B
  Trial Status Conference
                                                              Date:               February 18, 2021
                                                              Time:                      10:00 A.M.
                                                             Judge:        Judge Carlos E. Mendoza
                                                                                     Courtroom 5B
  Trial Term Begins                                                                MARCH 1, 2021
                                                                                        at 8:30 a.m.
  Estimated Length of Trial                                                              10-15 days

  Jury/Non-Jury                                                                                    Jury

  Mediation
                                                         Deadline:           SEPTEMBER 11, 2020
                                                         Mediator:                  Kimberly Sands
                                                          Address:            1060 Maitland Center
                                                                                          Commons
                                                                                            Suite 440
                                                                             Maitland, Florida 32751

                                                        Telephone:                      (407) 839-4511

  Designated Lead Counsel                         Attorney Name:                    Douglas B. Brown
  Pursuant to Local Rule 9.04(a)(3)
  Lead Counsel Telephone Number              Telephone Number:                           407/839-2150



        The purpose of this order is to discourage wasteful pretrial activities, and to secure the just,

 speedy, and inexpensive determination of the action. See Fed.R.Civ.P. 1; Local Rule 1.01(b). This

 order controls the subsequent course of this proceeding. Fed.R.Civ.P. 16(b), (e). Counsel and all

 parties (both represented and pro se) shall comply with this order, with the Federal Rules of Civil



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 Procedure, with the Local Rules of the United States District Court for the Middle District of

 Florida, and with the Administrative Procedures for Case Management/Electronic Case Filing. A

 copy         of    the     Local      Rules      and     Administrative          Procedures        may      be     viewed   at

 http://www.flmd.uscourts.gov.                  Counsel shall also comply with the Ideals and Goals of

 Professionalism adopted by the Board of Governors of the Florida Bar on May 16, 1990 available

 at www.floridabar.org (Professional Practice - Henry Latimer Center for Professionalism); Local

 Rule 2.04(g). 1

  I.         DISCOVERY

         A.       Certificate of Interested Persons and Corporate Disclosure Statement – This
 Court has previously ordered each party, governmental party, intervenor, non-party movant, and
 Rule 69 garnishee to file and serve a Certificate of Interested Persons and Corporate Disclosure
 Statement using a mandatory form. No party may seek discovery from any source before filing
 and serving a Certificate of Interested Persons and Corporate Disclosure Statement. A motion,
 memorandum, response, or other paper – including emergency motion – may be denied or stricken
 unless the filing party has previously filed and served a Certificate of Interested Persons and
 Corporate Disclosure Statement. Any party who has not already filed and served the required
 certificate shall do so within the time required by this order, or sanctions will be imposed.

        B.      Discovery Not Filed - The parties shall not file discovery materials with the Clerk
 except as provided in Local Rule 3.03(e). The Court encourages the exchange of discovery
 requests on diskette or by e-mail.

         C.      Limits on Discovery - Absent leave of Court, the parties may take no more than
 ten depositions per side (not per party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A).
 Absent leave of Court, the parties may serve no more than twenty-five interrogatories, including
 sub-parts. Fed.R.Civ.P. 33(a). Absent leave of the Court or stipulation by the parties, each
 deposition is limited to one day of seven hours. Fed.R.Civ.P. 30(d)(2). The parties may agree by
 stipulation on other limits on discovery within the context of the limits and deadlines established
 by this Case Management and Scheduling Order, but the parties may not alter the terms of this
 Order without leave of Court. See, e.g., Fed.R.Civ.P. 29.

        D.     Discovery Deadline - Each party shall timely serve discovery requests so that the
 Rules allow for a response prior to the discovery deadline. The Court may deny as untimely all
 motions to compel filed after the discovery deadline.

        E.      Disclosure of Expert Testimony - On or before the date set forth in the above table
 for the disclosure of expert reports, the party shall fully comply with Federal Rule of Civil

       1   See also procedures for the presiding district judge found under Judicial Information at www.flmd.uscourts.gov



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 Procedure 26(a)(2) and 26(e). Expert testimony on direct examination at trial will be limited to
 the opinions, bases, reasons, data, and other information disclosed in the written expert report
 disclosed pursuant to this Order. Failure to disclose such information may result in the exclusion
 of all or part of the testimony of the expert witness.

         F.      Confidentiality Agreements - The parties may reach their own agreement
 regarding the designation of materials as “confidential.” There is no need for the Court to endorse
 the confidentiality agreement. The Court discourages unnecessary stipulated motions for a
 protective order. The Court will enforce stipulated and signed confidentiality agreements. Each
 confidentiality agreement or order shall provide, or shall be deemed to provide, that “no party shall
 file a document under seal without first having obtained an order granting leave to file under seal
 on a showing of particularized need.” See also “Motions to File Under Seal” below.

  II.   MOTIONS

          A.      Certificate of Good Faith Conference - Before filing any motion in a civil case,
 the moving party shall confer with the opposing party in a good faith effort to resolve the issues
 raised by the motion, and shall file with the motion a statement certifying that the moving party
 has conferred with the opposing party, and that the parties have been unable to agree on the
 resolution of the motion. Local Rule 3.01(g). A certification to the effect that opposing counsel
 was unavailable for a conference before filing a motion is insufficient to satisfy the parties'
 obligation to confer. See Local Rule 3.01(g). No certificate is required in a motion for injunctive
 relief, for judgment on the pleadings, for summary judgment, to dismiss or to permit maintenance
 of a class action, to dismiss for failure to state a claim upon which relief can be granted, or to
 involuntarily dismiss an action. Local Rule 3.01(g). Nonetheless, the Court expects that a party
 alleging that a pleading fails to state a claim will confer with counsel for the opposing party before
 moving to dismiss and will agree to an order permitting the filing of a curative amended pleading.
 Fed.R.Civ.P.15. The term "counsel" in Rule 3.01(g) includes pro se parties acting as their own
 counsel, thus requiring movants to confer with pro se parties and requiring pro se movants to file
 Rule 3.01(g) certificates. The term “confer” in Rule 3.01(g) requires a substantive conversation
 in person or by telephone in a good faith effort to resolve the motion without court action and does
 not envision an exchange of ultimatums by fax or letter. Counsel who merely “attempt” to confer
 have not “conferred.” Counsel must respond promptly to inquiries and communications from
 opposing counsel. Board of Governors of the Florida Bar, Ideals and Goals of Professionalism,
 ¶ 6.10 and Creed of Professionalism ¶ 8 (adopted May 16, 1990), available at www.floridabar.org
 (Professional Practice - Henry Latimer Center for Professionalism). The Court will deny motions
 that fail to include an appropriate, complete Rule 3.01(g) certificate.

        B.      Extension of Deadlines

        The parties may not extend deadlines established in this Case Management and Scheduling
 Order without the approval of the Court.

                1.     Dispositive Motions Deadline and Trial Not Extended – Motions to
 extend the dispositive motions deadline or to continue the trial are generally denied. See Local
 Rule 3.05(c)(2)(E). The Court will grant an exception only when necessary to prevent manifest
 injustice. A motion for a continuance of the trial is subject to denial if it fails to comply with Local



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 Rule 3.09. The Court cannot extend a dispositive motion deadline to the eve of trial. In light of
 the district court’s heavy felony trial calendar, at least 3 1/2 months are required before trial to
 receive memoranda in opposition to a motion for summary judgment, and to research and resolve
 the dispositive motion sufficiently in advance of trial.

                 2.     Extensions of Other Deadlines Disfavored - Motions for an extension of
 other deadlines established in this order, including motions for an extension of the discovery
 period, are disfavored. The deadline will not be extended absent a showing of good cause.
 Fed.R.Civ.P. 16(b). Failure to complete discovery within the time established by this Order shall
 not constitute cause for continuance. A motion to extend an established deadline normally will be
 denied if the motion fails to recite that: 1) the motion is joint or unopposed; 2) the additional
 discovery is necessary for specified reasons; 3) all parties agree that the extension will not affect
 the dispositive motions deadline and trial date; 4) all parties agree that any discovery conducted
 after the dispositive motions date established in this Order will not be available for summary
 judgment purposes; and 5) no party will use the granting of the extension in support of a motion
 to extend another date or deadline. The filing of a motion for extension of time does not toll the
 time for compliance with deadlines established by Rule or Order.

         C.      Motions to Compel and for Protective Order - Motions to compel and motions
 for a protective order will be denied unless the motion fully complies with Local Rule 3.04,
 requiring the motion to quote in full each interrogatory, question, or request; to quote in full
 opposing party’s objection and grounds, or response which is asserted to be insufficient; and to
 state the reasons the motion should be granted.

        D.     Motions to File Under Seal - Whether documents filed in a case may be filed under
 seal is a separate issue from whether the parties may agree that produced documents are
 confidential. Motions to file under seal are disfavored, and such motions will be denied unless
 they comply with Local Rule 1.09.

         E.      Memoranda in Opposition - Each party opposing any written motion, shall file,
 within fourteen days after being served with such motion, a legal memorandum with citation of
 authorities in opposition to the relief requested. Local Rule 3.01(b). Where no memorandum in
 opposition has been filed, the Court routinely grants the motion as unopposed. Motions titled as
 “unopposed” or “agreed” normally come to the Court’s attention prior to the deadline for response.

         F.     Emergency Motions - The Court may consider and determine emergency motions
 at any time. Local Rule 3.01(e). Counsel should be aware that the designation “emergency” may
 cause a judge to abandon other pending matters in order to immediately address the “emergency.”
 The Court will sanction any counsel or party who designates a motion as “emergency” under
 circumstances that are not a true emergency. Id. It is not an emergency when counsel has delayed
 discovery until the end of the discovery period. Promptly after filing an emergency motion,
 counsel shall place a telephone call to the chambers of the presiding judge to notify the Court that
 an emergency motion has been filed.

        G.      Page Limit - No party shall file a motion and supporting memorandum in excess
 of twenty-five pages or a response in excess of twenty pages except by permission of the Court.
 Local Rule 3.01(a), (b). A motion requesting leave to file either a motion in excess of twenty-five



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 pages, a response in excess of twenty pages, or a reply or further memorandum may not exceed
 three pages, shall specify the length of the proposed filing, and shall not include, as an attachment
 or otherwise, the proposed motion, response, reply, or other paper. Rule 3.01(d). Motions for relief
 from page limitations are disfavored and will not be granted without a specific showing of good
 cause.

        H.      Motions for Summary Judgment

                 1.     Required Materials - A motion for summary judgment shall specify the
 material facts as to which the moving party contends there is no genuine issue for trial, and shall
 be accompanied by a memorandum of law, affidavits and other evidence in the form required by
 Federal Rule of Civil Procedure 56. The motion for summary judgment and supporting
 memorandum of law shall be presented in a single document of not more than twenty-five pages.
 Local Rule 3.01(a). Each party opposing a motion for summary judgment shall serve, within thirty
 days after being served with such motion, a legal memorandum with citation of authorities in
 opposition to the relief requested of not more than twenty pages. Id. The memorandum in
 opposition shall specify the material facts as to which the opposing party contends there exists a
 genuine issue for trial, and shall be accompanied by affidavit(s) and other evidence in the form
 required by Federal Rule of Civil Procedure 56. Both the movant and the party opposing summary
 judgment shall provide pinpoint citations to the pages and lines of the record supporting each
 material fact. General references to a deposition are inadequate. On or before the date on which
 the memorandum in opposition is due, the parties may also file a stipulation of agreed material
 facts signed by the movant and the parties opposing summary judgment pursuant to Local Rule
 4.15. Material facts set forth in the stipulation will be deemed admitted for the purposes of the
 motion.

               The Court will accept a seven (7) page reply. The reply shall not be repetitive,
 make an argument already given, or introduce a new argument. The reply shall be filed within
 fourteen days after the response is served.

                2.     Under Advisement - The Court takes a motion for summary judgment
 under advisement thirty days from the date it is served, unless the Court orders a different date.
 Unless specifically ordered, the Court will not hold a hearing on the motion. Failure to oppose
 any motion for summary judgment may result in the entry of a judgment for the movant without
 further proceedings. See Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984); Griffith v.
 Wainwright, 772 F.2d 822, 825 (11th Cir. 1985) (per curiam); Fed.R.Civ.P. 56 (e). All
 requirements in this Order apply to pro se litigants as well as to parties represented by counsel.

         I.     Daubert Motions - Any party seeking a ruling on the admissibility of expert
 opinions pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) and
 Federal Rule of Evidence 702 shall file an appropriate motion on or before the date established in
 the table above.

         J.      All Other Motions Including Motions In Limine - On or before the date
 established in the above table, the parties shall file and serve all other motions including motions
 in limine. Local Rule 3.01(g) applies, and the parties shall confer to define and limit the issues in
 dispute.



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  III.   JOINT FINAL PRETRIAL STATEMENT

        A.      Meeting In Person - On or before the date established in the above table, lead trial
 counsel for all parties and any unrepresented parties shall meet together in person pursuant to
 Local Rule 3.06(b) in a good faith effort to:

                1.      settle the case; the parties shall thoroughly and exhaustively discuss
 settlement of the action before undertaking the extensive efforts needed to conduct final
 preparation of the case for trial and to comply with the requirements of this order;

                 2.      stipulate to as many facts and issues as possible; in order to assist the Court,
 the parties shall make an active and substantial effort to stipulate at length and in detail as to agreed
 facts and law, and to limit, narrow, and simplify the issues of fact and law that remain contested;
 as a rule, parties who have complied with this requirement in good faith will file a Joint Final
 Pretrial Statement listing far more agreed facts and principles of law than those that remain for
 determination at trial;

                  3.      tag, mark, identify, examine, copy, and list all original trial exhibits
 (including actual document exhibits) that any party will offer in evidence or otherwise tender to
 any witness during trial [Local Rule 3.06(b)(3) and 3.07(a)]; and prepare and exchange a final
 exhibit list on the Clerk’s approved form (attached to this order) bearing a description identifying
 each exhibit and sponsoring witness [Local Rule 3.07(b)]; it is anticipated that counsel will agree
 to the admission of the bulk of the opposing parties’ exhibits without objection and shall designate
 on the exhibit list the exhibits which the Court may admit without objection at trial. Absent good
 cause, the Court will not receive in evidence over objection any exhibits – including charts,
 diagrams, and demonstrative evidence – not presented to opposing counsel or unrepresented
 parties for inspection and copying at the required meeting or not listed in the joint final pretrial
 statement. Photographs of sensitive exhibits (i.e., guns, drugs, valuables) and of non-documentary
 evidence, and reductions of documentary exhibits larger than 8 ½” by 14” to be substituted for
 original exhibits after conclusion of the trial must be presented to opposing counsel for
 examination at the meeting to prepare the Joint Final Pretrial Statement. Objections to such
 photographs or reductions of exhibits must be listed in the Joint Final Pretrial Statement. The
 parties are advised that the design of certain courtrooms may preclude the use of large exhibits and
 posters in a jury trial. The parties are directed to contact the trial judge’s courtroom deputy clerk
 to discuss exhibits and equipment to be used during trial; and

                 4.     exchange the names and addresses of all witnesses and state whether they
 will likely be called.

         B.      The Joint Final Pretrial Statement

                 1.      Form of Joint Final Pretrial Statement - On or before the date established
 in the above table, the parties shall file a Joint Final Pretrial Statement that strictly conforms to the
 requirements of Local Rule 3.06(c) and this Order. This case must be fully ready for trial at the
 time that the Joint Final Pretrial Statement is due. Lead trial counsel for all parties, or the
 parties themselves if unrepresented, shall sign the Joint Final Pretrial Statement. The Court will
 strike pretrial statements that are unilateral, incompletely executed, or otherwise incomplete.



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 Inadequate stipulations of fact and law will be stricken. Sanctions may be imposed for failure to
 comply, including the striking of pleadings. At the conclusion of the final pretrial conference, all
 pleadings are deemed to merge into the Joint Final Pretrial Statement, which will control the course
 of the trial. Local Rule 3.06(e).

                  2.     Exhibit List - The exhibit list filed in compliance with Local Rules
 3.06(c)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this order). Unlisted
 exhibits will not be received into evidence at trial, except by order of the Court in the furtherance
 of justice. See Local Rule 3.06(e). The Joint Final Pretrial Statement must attach each party’s
 exhibit list on the approved form listing each specific objection (“all objections reserved” does not
 suffice) to each numbered exhibit that remains after full discussion and stipulation. Objections not
 made – or not made with specificity – are waived.

                 3.     Witness List - On the witness list required by Local Rule 3.06(c)(5), the
 parties and counsel shall designate which witnesses will likely be called, and also designate which
 witnesses may be called. Absent good cause, the Court will not permit over objection testimony
 from unlisted witnesses at trial. This restriction does not apply to true rebuttal witnesses (i.e.,
 witnesses whose testimony could not reasonably have been foreseen to be necessary). Records
 custodians may be listed but will not likely be called at trial, except in the rare event that
 authenticity or foundation is contested. For good cause shown in compelling circumstances, the
 Court may permit presentation of testimony in open court by contemporaneous transmission from
 a different location. Fed.R.Civ.P. 43(a).

                  4.     Depositions - The Court encourages stipulations of fact to avoid calling
 unnecessary witnesses. Where a stipulation will not suffice, the Court permits the use of
 depositions. At the required meeting, counsel and unrepresented parties shall agree upon and
 specify in writing in the Joint Final Pretrial Statement the pages and lines of each deposition
 (except where used solely for impeachment) to be published to the trier of fact. The parties shall
 include in the Joint Final Pretrial Statement a page-and-line description of any testimony that
 remains in dispute after an active and substantial effort at resolution, together with argument and
 authority for each party’s position. The parties shall prepare for submission and consideration at
 the final pretrial conference or trial an edited and marked copy (as to the portion offered by each
 party) of any deposition or deposition excerpt which is to be offered in evidence.

                 5.      Joint Jury Instructions, Verdict Form, Voir Dire Questions - In cases
 to be tried before a jury, the parties shall attach to the Joint Final Pretrial Statement a single set of
 jointly-proposed jury instructions in order of presentation to the jury. Local Rule 5.01(c). The
 Court prefers pattern jury instructions approved by the United States Court of Appeals for the
 Eleventh Circuit. In the jointly-proposed jury instructions, the parties may submit contested
 instructions. Any contested instruction(s) shall identify the name of the requesting party and bear
 the citation of any applicable legal authority along with a summary of the opposing party’s
 objection beneath the instruction(s) at issue. The requesting party shall file any proposed
 instructions with the Clerk of Court and provide a virus free courtesy copy to the Court via e-mail
 in Microsoft Word format. E-mails shall be sent to the chambers e-mail address of the presiding
 judge, which can be found on CM/ECF.




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        The parties shall also file a proposed verdict form as an attachment to the Joint Final Pretrial
 Statement and send a courtesy copy to the Court via e-mail as provided above. The parties should
 be considerate of their jury, and therefore should submit short, concise special verdict forms.

        The parties may include a single list of jointly-proposed questions for the Court to ask the
 venire during voir dire as an attachment to the Joint Final Pretrial Statement. Proposed voir dire
 questions shall be filed with the Clerk of Court and sent to the Court via e-mail as provided above.

         C.       Coordination of Joint Final Pretrial Statement - All parties are responsible for
 filing a Joint Final Pretrial Statement in full compliance with this order. Plaintiff’s counsel (or
 plaintiff if all parties are proceeding pro se) shall have the primary responsibility to coordinate
 compliance with the sections of this order that require a meeting of lead trial counsel and
 unrepresented parties in person and the filing of a Joint Final Pretrial Statement and related
 material. See Local Rule 3.10 (relating to failure to prosecute). If the plaintiff is proceeding pro
 se, defense counsel shall coordinate compliance. If counsel is unable to coordinate such
 compliance, counsel shall timely notify the Court by written motion or request for a status
 conference.

        D.      Trial Briefs and Other Materials

               1.      Trial Briefs - In the case of a non-jury trial, on or before the date established
 above, each party shall file and serve a trial brief with proposed findings of fact and conclusions
 of law. The parties may file a trial brief on or before the same date in the case of a jury trial.

                 2.      Exhibit Notebook - On the first day of a jury trial or non-jury trial, the
 parties shall provide to the Court a bench notebook containing marked copies of all exhibits. The
 parties may contact the courtroom deputy clerk for the trial judge to determine whether this
 requirement may be waived.

  IV.   MEDIATION

          A.      Purpose - To minimize costly pretrial procedures in a case that may be equitably
 settled, and to secure the just, speedy, and inexpensive determination of this action, all parties shall
 participate in good faith in mediation. See Fed.R.Civ.P. 1; Fed.R.Civ.P. 16(a)(5); Local Rules
 1.01(b), 9.01(b). Parties who prefer mediation but have been designated for arbitration may file
 and serve a joint motion seeking relief from arbitration.

         B.     The Mediator - This Court prefers to appoint the certified and approved mediator,
 if any, chosen by the parties in their Case Management Report. If no such mediator has been
 chosen, the Court designates the default mediator listed in the above table pursuant to Local Rule
 9.04. The mediator shall conduct the mediation conference in the conference room of the
 mediator’s law firm or office at a time and date selected by the mediator within the confines of
 this order.

         C.    Last Date to Mediate - The parties shall complete the mediation conference on or
 before the mediation date set forth earlier in the above table. Despite Local Rule 9.05(d), neither
 the mediator nor the parties have authority to continue the mediation conference beyond
 this date except on express order of the Court. In any Track Three case, complex case, or case


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  involving multiple parties, the mediator has the authority to conduct the mediation in a series of
  sessions and in groups of parties so that mediation is complete by the last date to mediate.

         D.      Mediator’s Authority - The mediator shall have all powers and authority to
  conduct a mediation and to settle this case as are described in Chapter Nine of the Local Rules,
  except as limited by this order. The mediation shall continue until adjourned by the mediator.
  In order to coordinate the mediation conference, the mediator may set an abbreviated scheduling
  conference prior to the scheduled mediation. At such time, the mediator may designate one or
  more coordinating attorneys who shall be responsible for conferring with the mediator regarding
  the mediation conference. If necessary, the coordinating attorney may coordinate the rescheduling
  of a mediation conference within the time allowed in this order.

         E.      General Rules Governing Mediation Conference

                1.      Case Summaries - Not less than two days prior to the mediation
  conference, each party shall deliver to the mediator a written summary of the facts and issues of
  the case.

                 2.    Identification of Corporate Representative - As part of the written case
  summary, counsel for each corporate party shall state the name and general job description of the
  employee or agent who will attend and participate with full authority to settle on behalf of the
  corporate party.

                  3.       Attendance Requirements and Sanctions - Each attorney acting as lead
  trial counsel, and each party (and in the case of a corporate party, a corporate representative) with
  full authority to settle, shall attend and participate in the mediation conference. In the case of an
  insurance company, the term “full authority to settle” means authority to settle for the full value
  of the claim or policy limit. The Court will impose sanctions upon lead counsel and parties who
  do not attend and participate in good faith in the mediation conference.

                 4.    Authority to Declare Impasse - Participants shall be prepared to spend as
  much time as may be necessary to settle the case. No participant may force the early conclusion
  of a mediation because of travel plans or other engagements. Only the mediator may declare an
  impasse or end the mediation.

                  5.     Restrictions on Offers to Compromise - Evidence of an offer to
  compromise a claim is not admissible to prove liability for or invalidity of the claim or its amount.
  Fed. R. Evid. 408 (includes evidence of conduct or statements made in compromise negotiations);
  Local Rule 9.07(b). All discussion, representations and statements made at the mediation
  conference are privileged settlement negotiations. Except in a supplemental proceeding to enforce
  a settlement agreement, nothing related to the mediation conference shall be admitted at trial or be
  subject to discovery. Fed. R. Evid. 408; Local Rule 9.07. A communication between a party and
  a mediator during a private caucus is also confidential, unless the party tells the mediator that it is
  not.

         F.      Compensation of Mediators - Absent agreement of the parties and the mediator,
  mediators shall be compensated at a reasonable hourly rate agreed to by the parties or provided by
  order of the Court, absent agreement of the parties, after consideration of the amount in


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  controversy, the nature of the dispute, the resources of the parties, the prevailing market rate for
  mediators in the applicable market, the skill and experience of the mediator, and other pertinent
  factors. Unless altered by order of the Court, the cost of the mediator's services shall be borne
  equally by the parties to the mediator conference.

          G.      Settlement and Report of Mediator - A settlement agreement reached between
  the parties shall be reduced to writing and signed by the parties and their attorneys in the presence
  of the mediator. See also Local Rule 9.06(b) and 3.08. Within seven days of the conclusion of
  the mediation conference, the mediator shall file and serve a written mediation report stating
  whether all required parties were present, whether the case settled, and whether the mediator was
  forced to declare an impasse. See Local Rule 9.06. The mediator may report any conduct of a
  party or counsel that falls short of a good faith effort to resolve the case by agreement or fails to
  comply with this Order. See Local Rule 9.05(e), 9.06(a).

  V.      FINAL PRETRIAL CONFERENCE AND TRIAL STATUS CONFERENCE

           A.     Trial Status Conference – Counsel should be prepared to discuss dates certain for
  trial, the Court will also set the final pretrial conference at this hearing. No substantive matters
  will be heard at this time.

          B.      Final Pretrial Conference - Since this case must be fully ready for trial at the time
  that the Joint Final Pretrial Statement is due, at the final pretrial conference, all counsel and parties
  must be prepared and authorized to accomplish the purposes set forth in Fed.R.Civ.P. 16 and Local
  Rule 3.06, including formulating and simplifying the issues; eliminating frivolous claims and
  defenses; admitting facts and documents to avoid unnecessary proof; stipulating to the authenticity
  of documents; obtaining advance rulings from the Court on the admissibility of evidence; settling
  the dispute; disposing of pending motions; establishing a reasonable limit on the time allowed for
  presenting evidence; and such other matters as may facilitate the just, speedy, and inexpensive
  disposition of the action. See Fed.R.Civ.P. 16(c)-(d). Lead trial counsel and local counsel for
  each party, together with any unrepresented party, must attend the final pretrial conference
  in person unless previously excused by the Court. See Local Rule 3.06(d); Fed.R.Civ.P. 16(d).

  VI. SANCTIONS - The Court will impose sanctions on any party or attorney: 1) who fails to
  attend and to participate actively in the meeting to prepare the Joint Pretrial Statement, or who
  refuses to sign and file the agreed document; 2) who fails to attend the Final Pretrial Conference,
  or who is substantially unprepared to participate; 3) who fails to attend the mediation and actively
  participate in good faith, or who attends the mediation without full authority to negotiate a
  settlement, or who is substantially unprepared to participate in the mediation; or 4) who otherwise
  fails to comply with this order. Sanctions may include but are not limited to an award of reasonable
  attorneys fees and costs, the striking of pleadings, the entry of default, the dismissal of the case,
  and a finding of contempt of court. See Fed.R.Civ.P. 16(f) and 37; Local Rules 9.05(c), (e); 28
  U.S.C. § 1927.

  VII.    TRIAL

          A.     Trial Before District Judge - A case scheduled for trial before a United States
  District Judge normally will be called for trial on the first day of the trial term indicated in the



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  above table, or as soon after that date as is possible in light of the Court’s felony and civil trial
  calender. 2 Cases not reached for trial in the month scheduled will be carried over to the following
  month on a trailing trial calendar, and issued subpoenas will continue in force. Counsel, parties,
  and witnesses shall be available on twenty-four hours notice for trial after the beginning of the
  trial term. A different District Judge or visiting judge may try the case. Local Rule 1.03(d). The
  case may be set for trial in the Orlando Division, Tampa Division, Fort Myers Division, Ocala
  Division, or Jacksonville Division of the Court. Local Rule 1.02(e). Absent a showing of good
  cause, any party whose turn it is to provide evidence will be deemed to have rested if, during the
  hours designated for trial, the party has no further evidence or witnesses available.

          B.      Trial Before a Magistrate Judge - A case scheduled for trial before a United
  States Magistrate Judge will be called for trial on a date certain. With respect to a civil case that
  remains pending before a District Judge as of the date of this order, the United States District
  Judges of the Middle District of Florida wish to afford the parties the opportunity to consent to
  proceed before a Magistrate Judge. Consent must be unanimous. A United States Magistrate
  Judge is available pursuant to 28 U.S.C. § 636(c) and Federal Rule of Civil Procedure 73(a) to
  conduct all further proceedings in this case (or specified motions in this case), to conduct a jury or
  non-jury trial beginning on a date certain, and to enter final judgment. A party may appeal a final
  judgment of a Magistrate Judge to the United States Court of Appeals for the Eleventh Circuit in
  the same manner as an appeal from the district court. 28 U.S.C. § 636(c)(3); Fed.R.Civ.P. 73. A
  party is free to withhold consent without adverse substantive consequences. 28 U.S.C. § 636
  (c)(2); Fed.R.Civ.P. 73(b). Consent forms are attached to this scheduling order. Fed.R.Civ.P.
  73(b); Local Rule 6.05.

           C.      Settlement - Counsel shall immediately notify the Court upon settlement of any
  case. Local Rule 3.08(a). The parties shall notify the Court of any settlement or other disposition
  of the case which will eliminate the need for a jury by 11:30 a.m. on the last business day before
  the date scheduled for jury selection. Failure to do so will subject each party to joint and several
  liability for jury costs. Regardless of the status of settlement negotiations, the parties shall
  appear for all scheduled hearings, including the Final Pretrial Conference and for trial absent the
  filing of a stipulation of dismissal signed by all parties who have appeared in the action (or
  notice of dismissal if prior to answer and motion for summary judgment). Fed.R.Civ.P. 41(a).




      2
        This case may be reassigned to a visiting District Judge at any time. In unusual and extraordinary circumstances, the
  Court may re-notice this case for trial shortly before the first day of the trial term if necessary to accommodate the trial
  schedule of the District Judge



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         DONE AND ORDERED in Orlando, Florida, on May 6, 2020.




  Attachments:             Exhibit List Form [mandatory form]
                           Magistrate Judge Consent / Entire Case
                           Magistrate Judge Consent / Specified Motions

  Copies to:               United States Magistrate Judge
                           All Counsel of Record
                           All Pro Se Parties
                           Law Clerk (trial judge)




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                                           EXHIBIT LIST
                                 Government                    Plaintiff                  Defendant                  Court



                        Case No.
                        Style:


 Exhibit         Date                  Date Admitted Sponsoring                     Objections /                 Description of
 No.             Identified                                  Witnesses              Stipulated                   Exhibit
                                                                                    Admissions 1




         1
         Use a code (e.g. “A” or “*”) in this column to identify exhibits to be received in evidence by agreement without objections.
Otherwise, specifically state each objection to each opposed exhibit. Please note that each date box on the left must be one inch wide
to accommodate the Clerk’s stamp.
    Case 6:18-cv-02184-CEM-LRH Document 124 Filed 05/06/20 Page 15 of 17 PageID 2052
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                               Middle District of Florida

      ALLSTATE INSURANCE COMPANY, et al.                                        )
                                Plaintiffs                                      )
                       v.                                                       )     Civil Action No.      6:18-cv-2184-Orl-41LRH
           AUTO GLASS AMERICA, LLC, et al.                                      )
                               Defendants                                       )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE


        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                  District Judge’s signature




                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
    Case 6:18-cv-02184-CEM-LRH Document 124 Filed 05/06/20 Page 16 of 17 PageID 2053
AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge




                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                             Middle District of Florida

     ALLSTATE INSURANCE COMPANY, et al.                                        )
                               Plaintiff
                                  s
                                                                               )
                     v.                                                        )       Civil Action No. 6:18-cv-2184-Orl-41LRH
         AUTO GLASS AMERICA, LLC, et al.                                       )
                             Defendants                                        )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).


                  Motions:




            Parties’ printed names                                  Signatures of parties or attorneys                         Dates




                                                                  Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                     District Judge’s signature


                                                                                                      Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
Case 6:18-cv-02184-CEM-LRH Document 124 Filed 05/06/20 Page 17 of 17 PageID 2054




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